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 5
 6   Attorney for Defendant
     ARMANDO ESPINDOLA
 7
 8                             UNITED STATES DISTRICT COURT
 9                            EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )                   CASE NO. 2:09-cr-00380 WBS
                                      )
12                    Plaintiff       )
                                      )                   STIPULATION AND
13              vs.                   )                   ORDER CONTINUING
                                      )                   STATUS CONFERENCE
14                                    )
     URIEL OCHOA-ESPINDOLA,           )
15                                    )
                      Defendant.      )
16   ________________________________ )
17
18          The United States, through its undersigned counsel, and the defendants, through their
19   undersigned counsel, hereby agree and stipulate that the status conference, which is currently
20   scheduled for August 29, 2011 at 08:30 AM in Courtroom 5 should be vacated and continued
21   to September 19, 2011, at 8:30 a.m.
22          All counsel agree that time should be excluded under the Speedy Trial Act from the date
23   this stipulation is lodged through September 19, 2011.
24          The parties stipulate and agree that the continuance requested herein is necessary to
25   provide defense counsel reasonable time to prepare their respective clients’ defenses and taking
26   into account due diligence, the parties agree that the interests of justice in granting this
27   reasonable request for a continuance outweigh the best interests of the public and defendants for
28   a speedy trial in this case, pursuant to Title 18 USC § 3161(H)(7)(B)(iv) and Local Code T4.


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 1   Dated: August 26, 2011                       /s/ Michael Beckwith
                                                MICHAEL BECKWITH
 2                                              Assistant U.S. Attorney
 3   Dated: August 26, 2011                      /s/ John R. Duree, Jr.
                                                JOHN R. DUREE, JR.
 4                                              Attorney for Armando Espindola
 5   Dated: August 26, 2011                       /s/ Jeffrey Rosenblum
                                                JEFFREY ROSENBLUM
 6                                              Attorney for Jose Sergio Espindola
 7   Dated: August 26, 2011                      /s/ Preciliano Martinez
                                                PRECILIANO MARTINEZ
 8                                              Attorney for Uriel Ochoa-Espindola
 9   Dated: August 26, 2011                      /s/ Robert L. Forkner
                                                ROBERT L. FORKNER
10                                              Attorney for Valentin Ramirez-Cardinez
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 1                                          ORDER
 2         IT IS HEREBY ORDERED that status conference currently scheduled for August 29,
 3   2011 at 8:30 a.m. be VACATED, and the matter continued until September 19, 2011 at 8:30
 4   a.m. Time is excluded under the Speedy Trial Act from August 29, 2011 through September
 5   19, 2011 pursuant to Local Code T4.
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     Dated: August 28, 2011
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